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 5

 6 Attorneys for Plaintiff

 7

 8                                      IN THE UNITED STATES DISTRICT COURT

 9                                          EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                                    CASE NO. 1:11-cr-00113 AWI
12                                          Plaintiff,            STIPULATION REGARDING
                                                                  EXCLUDABLE TIME PERIODS
13   v.                                                           UNDER SPEEDY TRIAL ACT;
                                                                  FINDINGS AND ORDER
14   ANDY YUNG KWONG CHAN, ET AL.
15                                          Defendants,
16

17             Plaintiff United States of America, by and through its counsel of record, and defendants, by

18 and through their counsel of record, hereby stipulate as follows:

19             1.        By previous order, this matter was set for status on October 22, 2012 at 1:30 p.m.

20             2.        By this stipulation, defendants now move to continue the status conference until

21 January 22, 2013 at 1:30 p.m. and to exclude time between October 22, 2012 and, January 22, 2013

22 under 18 U.S.C.§ 3161(h)(7)(A), B(iv). Plaintiff does not oppose this request.

23             3.        The parties agree and stipulate, and request that the Court find the following:

24                       a.        The government has represented that the discovery associated with this case

25             includes approximately 508 pages of investigative reports and related documents in

26             electronic form as well as approximately 25 CDs of interviews, photographs and video

27             recordings. All of this discovery has been either produced directly to counsel and/or made

28             available for inspection and copying.
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 1                    b.        Offers have been conveyed, counteroffers have been made, and plea

 2          agreements have been prepared as to several of the defendants that the parties felt were

 3          reasonably likely to result in the resolution. However, within the last week the government

 4          was provided information that potentially affects the offers that are currently outstanding and

 5          the status of the negotiations. Counsel for defendants and the government desire additional

 6          time to evaluate this information and reevaluate the offers that are outstanding.

 7                    c.        Counsel for defendants need additional time for investigation and preparation.

 8          Counsel for defendants believe that failure to grant the above-requested continuance would

 9          deny him the reasonable time necessary for effective preparation and resolution, taking into

10          account the exercise of due diligence.

11                    d.        The government does not object to the continuance.

12                    e.        Based on the above-stated findings, the ends of justice served by continuing

13          the case as requested outweigh the interest of the public and the defendant in a trial within

14          the original date prescribed by the Speedy Trial Act.

15                    f.        For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §

16          3161, et seq., within which trial must commence, the time period of October 22, 2012 to

17          January 22, 2013, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),

18          B(iv) because it results from a continuance granted by the Court at defendant’s request on the

19          basis of the Court's finding that the ends of justice served by taking such action outweigh the

20          best interest of the public and the defendants interest in a speedy trial.

21          4.        Nothing in this stipulation and order shall preclude a finding that other provisions of

22 the Speedy Trial Act dictate that additional time periods are excludable from the period within which

23 a trial must commence.

24          IT IS SO STIPULATED.

25 DATED: October 22, 2012                            /s/ Laurel J. Montoya
                                                      LAUREL J. MONTOYA
26                                                    Assistant United States Attorney
27 DATED: October 22, 2012                            /s/ Alonzo J. Gradford
                                                      ALONZO J. GRADFORD
28                                                    Attorney for Defendant Andy Yung Kwong Chan
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 1 DATED: October 22, 2012                                                    /s/ Seth P. Chazin
                                                                              SETH P. CHAZIN
 2                                                                            Attorney for Defendant John Zhong Xian Huang
 3 DATED: October 22, 2012                                                    /s/ George Siddell
                                                                              GEORGE SIDDELL
 4                                                                            Attorney for Defendant Chiu Chuen Lau
 5 DATED: October 22, 2012                                                    /s/ Doron Weinberg
                                                                              DORON WEINBERG
 6                                                                            Attorney for Defendant Tony Chao Fan Luo
 7 DATED: October 22, 2012                                                    /s/ Kirk McAllister
                                                                              KIRK MCALLISTER
 8                                                                            Attorney for Defendant Michael Chau
 9 DATED: October 22, 2012                                                    /s/ Harris B. Taback
                                                                              HARRIS B. TABACK
10                                                                            Attorney for Defendant Yao Ming Yu
11                                                                            ORDER

12
     IT IS SO ORDERED.
13
     Dated: October 18, 2012
14
     DEAC_Signature-END:
                                                                         CHIEF UNITED STATES DISTRICT JUDGE
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29                         Chan, et al. Stipulation and Proposed Order

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